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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      November 15, 2021
                              UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

THE STATE OF MISSOURI; and THE                §
STATE OF TEXAS,                               §
                                              §
       Plaintiffs,                            §
                                              §
VS.                                           §
                                              §
JOSEPH R. BIDEN, JR., in his official         §
capacity as President of the United States of §
America; THE UNITED STATES OF                 §
                                                CIVIL ACTION NO. 7:21-cv-00420
AMERICA; ALEJANDRO N.                         §
MAYORKAS, in his official capacity as         §
                                                (Formerly
Secretary of the United States Department §
                                                CIVIL ACTION NO. 6:21-cv-00052)
of Homeland Security; UNITED STATES §
DEPARTMENT OF HOMELAND                        §
SECURITY; TROY A. MILLER, in his              §
official capacity as the Acting               §
Commissioner of the United States Customs §
and Border Protection; and UNITED             §
STATES CUSTOMS AND BORDER                     §
PROTECTION,                                   §
                                              §
       Defendants.                            §

                                              ORDER

            The Court now considers “Defendants’ First Motion for an Extension of Time to Respond

[sic] Plaintiffs’ Motion for a Preliminary Injunction and Request for Expedited Ruling. ”1

Defendants request the Court consider this motion before it is ordinarily submitted for the Court’s

consideration under Local Rule 7.3 and before November 29, 2021, because the motion seeks to

extend the November 29th deadline.2 The Court agrees that the motion seeks to extend a deadline




1   Dkt. No. 23.
2   Id. at 3, ¶¶ 1–2.


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which would have already passed if the Court considers the motion after its ordinary submiss io n

date.3 Accordingly, the Court GRANTS Defendants’ request for expedited consideration pursuant

to Local Rule 7.8.

         The Court now turns to Defendants’ main request for an extension of time. Plaintiffs moved

for a preliminary injunction on November 8, 2021, 4 so Defendants’ response brief is due on

November 29th pursuant to Local Rule 7.4.A. Defendants explain that Plaintiffs’ motion is fifty

pages and contains “complex and important” nationwide issues that will necessitate that the

government Defendants consult with numerous stakeholders before filing their response brief. 5

Defendants therefore request a nine-day extension to December 8th to file their response brief.6

         The Court finds the requested extension reasonable and warranted by the circumstances,

including the Thanksgiving holiday7 which will interrupt otherwise routine workdays. The Court

GRANTS Defendants’ motion.8 The submission date and Defendants’ response brief deadline to

Plaintiffs’ motion for a preliminary injunction is December 8, 2021.9 The Court further orders, for

purposes of fairness, that Plaintiffs’ reply brief deadline, should Plaintiffs exercise their option to

file a reply, is extended from December 15th to December 17, 2021.

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 15th day of November 2021.


                                                   ___________________________________
                                                                 Micaela Alvarez
                                                           United States District Judge



3 See LR7.3.
4 Dkt. No. 19.
5 Dkt. No. 23 at 2, ¶¶ 1–2.
6 Id. at 2.
7 See 5 U.S.C. § 6103(a).
8 Dkt. No. 23.
9 See LR




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